Case 1:17-cv-06433-RMB-AMD Document 1 Filed 08/25/17 Page 1 of 7 PageID: 1
Case 1:17-cv-06433-RMB-AMD Document 1 Filed 08/25/17 Page 2 of 7 PageID: 2
Case 1:17-cv-06433-RMB-AMD Document 1 Filed 08/25/17 Page 3 of 7 PageID: 3
Case 1:17-cv-06433-RMB-AMD Document 1 Filed 08/25/17 Page 4 of 7 PageID: 4
Case 1:17-cv-06433-RMB-AMD Document 1 Filed 08/25/17 Page 5 of 7 PageID: 5
Case 1:17-cv-06433-RMB-AMD Document 1 Filed 08/25/17 Page 6 of 7 PageID: 6
Case 1:17-cv-06433-RMB-AMD Document 1 Filed 08/25/17 Page 7 of 7 PageID: 7
